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                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK


METROPOLITAN TRANSPORTATION
AUTHORITY and TRIBOROUGH BRIDGE AND
TUNNEL AUTHORITY,

                                       Plaintiffs,

                            v.
                                                               Index No. 1:25-cv-01413
SEAN DUFFY, in his official capacity as Secretary of
the United States Department of Transportation,
UNITED STATES DEPARTMENT OF
TRANSPORTATION, GLORIA M. SHEPHERD, in
her official capacity as the Executive Director of the
Federal Highway Administration, and FEDERAL
HIGHWAY ADMINISTRATION,

                                       Defendants.


                                  NOTICE OF APPEARANCE

 To the Clerk of this Court and all parties of record:

        Please enter my appearance as counsel in this case for Plaintiffs the Metropolitan

 Transportation Authority and the Triborough Bridge and Tunnel Authority. I certify that I am

 admitted to practice in this Court.


Dated: February 19, 2025                             /s/ D. Brandon Trice
       New York, New York                            D. Brandon Trice
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                                                     Transportation Authority and the Triborough
                                                     Bridge and Tunnel Authority
